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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY




UNITED STATES OF AMERICA
                                                            MAGISTRATE NO. 12-2573


      V.

                                                                    ORDER

 JOSEPH A. GIORGIANNI




       The financial inability of the defendant to retain counsel having been established by the Court,

and the defendant not having waived the appointment of counsel,

               It is on this   10th       day of      SEPTEMBER         ,   2012

       ORDERED that               BRIAN RILEY                  from the Office of the Federal Public

Defender for the District of New Jersey is hereby appointed to represent said defendant for
                                                                                              the Initial

Appearance ONLY, or unless otherwise ORDERED by the COURT.



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                                                    DOUGLAE. AtPERT
                                                    United Sttes Mistrate Judge
